
361 S.W.3d 444 (2011)
In the Interest of: E.W.R., R.L.R., &amp; O.J.R.; Plaintiffs,
D.L.R. (Mother); and, Appellant,
R.W.R. (Father), Appellant,
v.
Missouri Department of Social Services, Respondent.
Nos. WD 73659, WD 73660, WD 73661.
Missouri Court of Appeals, Western District.
November 29, 2011.
Michael D. Arnold, Gallatin, MO, for Plaintiffs.
Allan B. Turner, Chillicothe, MO, for Appellants.
Gary L. Gardner, Jefferson City, MO, for Respondent.
Before ALOK AHUJA, P.J., THOMAS H. NEWTON, and JAMES EDWARD WELSH, JJ.

ORDER
PER CURIAM:
Mother and Father appeal the termination of their parental rights to their three children. They claim that the record does not support the termination and the grounds for termination were not established by clear, cogent, and convincing evidence.
For reasons stated in the memorandum provided to the parties, we affirm. Rule 84.16(b).
